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 1                                  UNITED STATES DISTRICT COURT
 2                                          DISTRICT OF NEVADA
 3
 4    UNITED STATES OF AMERICA,               )                   Case No. 2:17-cr-00306-JCM-PAL
                                              )
 5                Plaintiff,                  )
                                              )
 6          v.                                )
                                              )
 7    PIUS WILSON,                            )                   ORDER
                                              )
 8                Defendant.                  )
                                              )
 9    _______________________________________ )
10           Presently before the Court is the government’s motion to reopen detention hearing (ECF No.
11    367), filed on April 5, 2018. Defendant Pius Wilson has not filed a reply. The government requests
12    emergency consideration of this motion.
13           Defendant is charged with one count of racketeering conspiracy, in violation of 18 U.S.C.
14    § 1962(d), for his alleged participation in a transnational cybercriminal enterprise. Defendant was
15    arrested in the Eastern District of New York (“EDNY”) on February 6, 2018, and then transferred to
16    the District of Nevada. He made his initial appearance before this Court on March 6, 2018 before
17    United States Magistrate Judge Carl. W. Hoffman, Jr., where he was released on personal
18    recognizance pending further proceedings, subject to certain conditions imposed (ECF No. 319).
19    The terms of Defendant’s personal recognizance bond (“PR bond”) included restrictions on his use
20    of internet capable devices, as well as a requirement that pretrial services monitor his internet use
21    (ECF No. 315).
22           The government now moves to reopen the detention hearing1, arguing that based on the
23    reports of pretrial services, there is now evidence that Defendant has not complied with the terms of
24    his PR bond. Specifically, the government alleges that Defendant has disabled the monitoring
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26           1
               While the government moves to reopen the detention hearing under 18 U.S.C. § 3142(f), it
      appears that the government is effectively seeking sanctions for an alleged violation of Defendant’s
27    release condition, which the Court can grant under 18 U.S.C. § 1348.
28                                                       1
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 1    software that pretrial services installed on his cell phone. The government further alleges that
 2    Defendant has left threatening voicemails to two of the agents who executed the search warrant on
 3    Defendant’s residence on February 6, 2018. Given the above allegations, the Court will hold a
 4    hearing on this matter.
 5           IT IS THEREFORE ORDERED that the government’s request for emergency consideration
 6    is GRANTED. Any response to the government’s motion to reopen detention hearing (ECF No.
 7    367) is due no later than April 17, 2018. Any reply is due no later than April 20, 2018.
 8           IT IS FURTHER ORDERED that the Court will hold a hearing on the government’s motion
 9    to reopen detention hearing (ECF No. 367) on April 23, 2018, at 1:30 p.m, in the United States
10    District Court of Nevada, before United States Magistrate Judge Carl. W. Hoffman, Courtroom 3C.
11    Defendant Pius Wilson must appear in person.
12
13           DATED: April 6, 2018
14
15                                                           _________________________________
                                                             C.W. Hoffman, Jr.
16                                                           United States Magistrate Judge
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